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                                                                           FILED
                                                               United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                  Tenth Circuit

                               FOR THE TENTH CIRCUIT                           September 20, 2019
                           _________________________________
                                                                               Elisabeth A. Shumaker
                                                                                   Clerk of Court
   UNITED STATES OF AMERICA,

         Plaintiff - Appellee,

   v.                                                            No. 18-1217
                                                      (D.C. No. 1:17-CR-00168-CMA-1)
   KAREN LYNN MCCLAFLIN,                                          (D. Colo.)

         Defendant - Appellant.
                        _________________________________

                                      JUDGMENT
                           _________________________________

  Before MATHESON, SEYMOUR, and BACHARACH, Circuit Judges.
                    _________________________________

         This case originated in the District of Colorado and was argued by counsel.

         The judgment of that court is affirmed.

         If defendant, Karen Lynn McClaflin, was released pending appeal, the court orders

  that, within 30 days of this court’s mandate being filed in District Court, the defendant

  shall surrender to the United States Marshal for the District of Colorado. The District

  Court may, however, in its discretion, permit the defendant to surrender directly to a

  designated Bureau of Prisons institution for service of sentence.


                                                Entered for the Court



                                                ELISABETH A. SHUMAKER, Clerk
